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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

 ANA HERNANDEZ, individually
 and on behalf of all others similarly       Case No.: 1:25-cv-05841
 situated,                                   COMPLAINT – CLASS ACTION

                   Plaintiff,

 v.                                          JURY TRIAL DEMANDED

 THE COOPER HEALTH SYSTEM,

                   Defendant.


       Plaintiff Ana Hernandez (“Plaintiff”), on behalf of all others similarly

 situated, by and through her undersigned counsel, brings this Class Action

 Complaint against The Cooper Health System (“Defendant”). Plaintiff alleges the

 following upon information and belief based on and the investigation of counsel,

 except as to those allegations that specifically pertain to Plaintiff, which are alleged

 upon personal knowledge.

                                  INTRODUCTION

       1.     Plaintiff and the proposed Class Members bring this class action

 lawsuit on behalf of all persons who entrusted Defendant with sensitive Personally




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 Identifiable Information (“PII”)1 and Protected Health Information (“PHI”)

 (collectively “Private Information”) that was impacted in a data breach that publicly

 disclosed in May 2025 (the “Data Breach” or the “Breach”).

       2.     Plaintiff’s claims arise from Defendant’s failure to properly secure and

 safeguard Private Information that was entrusted to it, and its accompanying

 responsibility to store and transfer that information.

       3.     Defendant is a health system headquartered in Camden, New Jersey,

 that provides access to primary, specialty, tertiary, and urgent care.

       4.     Defendant had numerous statutory, regulatory, contractual, and

 common law duties and obligations, including those based on its affirmative

 representations to Plaintiff and Class Members, to keep their Private Information

 confidential, safe, secure, and protected from unauthorized disclosure or access.

       5.     In May 2024, Defendant became aware of unusual activity on its IT

 Network.2 In response, Defendant launched an investigation to determine the nature

 and scope of the Data Breach.3



 1
   Personally identifiable information generally incorporates information that can be
 used to distinguish or trace an individual’s identity, either alone or when combined
 with other personal or identifying information. 2 C.F.R. § 200.79. At a minimum, it
 includes all information that on its face expressly identifies an individual.
 2
   Data Breach Notifications, The Cooper Health System, Office of the Maine
 Attorney General: https://www.maine.gov/cgi-bin/agviewerad/ret?loc=2621 (last
 visited May 27, 2025).
 3
   Id.

                                            2
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         6.    Defendant’s investigation concluded that an unauthorized actor may

 have acquired certain data stored in its IT Network.4 Defendant’s investigation

 further determined that certain Private Information may have been compromised.5

         7.    Upon information and belief, the following types of Private

 Information were impacted as a result of the Data Breach: name and Social Security

 number.

         8.    On May 23, 2025, Defendant issued a public disclosure about the Data

 Breach, and started sending out notice letters to individuals impacted.6

         9.    Defendant failed to take precautions designed to keep individuals’

 Private Information secure.

         10.   Defendant owed Plaintiff and Class Members a duty to take all

 reasonable and necessary measures to keep the Private Information collected safe

 and secure from unauthorized access. Defendant solicited, collected, used, and

 derived a benefit from the Private Information, yet breached its duty by failing to

 implement or maintain adequate security practices.




 4
   Id.
 5
   Id.
 6
   Id.

                                           3
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       11.    Defendant admits that information in its systems were accessed by

 unauthorized individuals, though it provides little information regarding how the

 Data Breach occurred.

       12.    The sensitive nature of the data exposed through the Data Breach

 signifies that Plaintiff and Class Members have suffered irreparable harm. Plaintiff

 and Class Members have lost the ability to control their private information and are

 subject to an increased risk of identity theft.

       13.    Defendant failed to use reasonable security procedures and practice

 appropriate to the nature of the sensitive, unencrypted information it maintained for

 Plaintiff and Class Members, causing the exposure of Plaintiff’s and Class

 Members’ Private Information.

       14.    As a result of Defendant’s inadequate digital security and notice

 process, Plaintiff’s and Class Members’ Private Information were exposed to

 criminals. Plaintiff and the Class Members have suffered and will continue to suffer

 injuries including: financial losses caused by misuse of their Private Information;

 the loss or diminished value of their Private Information as a result of the Data

 Breach; lost time associated with detecting and preventing identity theft; and theft

 of personal and financial information.

       15.    Plaintiff brings this action on behalf of all persons whose Private

 Information was compromised as a result of Defendant’s failure to: (i) adequately


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 protect the Private Information of Plaintiff and Class Members; (ii) warn Plaintiff

 and Class Members of Defendant’s inadequate information security practices; (iii)

 effectively secure hardware containing protected Private Information using

 reasonable and adequate security procedures free of vulnerabilities and incidents;

 and (iv) timely notify Plaintiff and Class Members of the Data Breach.

       16.     Plaintiff brings this action individually and on behalf of a Nationwide

 Class of similarly situated individuals against Defendant for: negligence;

 negligence per se; unjust enrichment, breach of implied contract, and breach of

 confidence.

       17.     Plaintiff seeks to remedy these harms and prevent any future data

 compromise on behalf of herself and all similarly situated persons whose personal

 data was compromised and stolen as a result of the Data Breach and who remain at

 risk due to Defendant’s inadequate data security practices.

                                      PARTIES

  Plaintiff

         18. Plaintiff Ana Hernandez is a citizen and resident of Camden, New

  Jersey.

  Defendant

       19.     Defendant is a New Jersey non-profit corporation, with its principal

 place of business located at One Cooper Plaza, Camden, New Jersey, 08103.


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                            JURISDICTION AND VENUE

           20.   This Court has jurisdiction over this action under the Class Action

 Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5

 million, exclusive of interest and costs. The number of class members is 57,412 and

 at least one member of the Class defined below is a citizen of a different state that

 is diverse from Defendant’s citizenship.7 Thus, minimal diversity exists under 28

 U.S.C. § 1332 (d) (2) (A).

           21.   This Court has personal jurisdiction over Defendant because

 Defendant is registered to do business and maintains its principal place of business

 in this District.

           22.   Venue is proper in this Court because Defendant’s principal place of

 business is located in this District, and because a substantial part of the events, acts,

 and omissions giving rise to Plaintiff’s claims occurred in this District.

                              FACTUAL ALLEGATIONS

      A. Background on Defendant

           23.   Defendant is a health system headquartered in Camden, New Jersey,

 that provides access to primary, specialty, tertiary, and urgent care.




 7
     Id.

                                             6
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       24.    Upon information and belief, Defendant made promises and

 representations to individuals, including Plaintiff and Class Members, that the

 Private Information collected from them would be kept safe and confidential, and

 that the privacy of that information would be maintained.8

       25.    Plaintiff and Class Members provided their Private Information to

 Defendant with the reasonable expectation and on the mutual understanding that

 Defendant would comply with its obligations to keep such information confidential

 and secure from unauthorized access.

       26.    As a result of collecting and storing the Private Information of Plaintiff

 and Class Members for its own benefit, Defendant had a continuous duty to adopt

 and employ reasonable measures to protect Plaintiff’s and the Class Members’

 Private Information from disclosure to third parties.

     B. The Data Breach

       27.    In May 2024, Defendant became aware of unusual activity on its IT

 Network.9 In response, Defendant launched an investigation to determine the nature

 and scope of the Data Breach.10



 8
    Privacy Statement, The Cooper Health System: https://cooperhealth.org/privacy-
 statement (last visited May 27, 2025).
 9
    Data Breach Notifications, The Cooper Health System, Office of the Maine
 Attorney General: https://www.maine.gov/cgi-bin/agviewerad/ret?loc=2621 (last
 visited May 27, 2025).
 10
     Id.

                                            7
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          28.   Defendant’s investigation concluded that an unauthorized actor may

 have acquired certain data stored in its IT Network.11 Defendant’s investigation

 further determined that certain Private Information may have been compromised.12

          29.   Upon information and belief, the following types of Private

 Information were impacted as a result of the Data Breach: name and Social Security

 number.

          30.   On May 23, 2025, Defendant issued a public disclosure about the Data

 Breach, and started sending out notice letters to individuals impacted.13

          31.   Defendant failed to take precautions designed to keep individuals’

 Private Information secure.

          32.   While Defendant sought to minimize the damage caused by the Data

 Breach, it cannot and has not denied that there was unauthorized access to the

 sensitive Private Information of Plaintiff and Class Members.

          33.   Individuals affected by the Data Breach are, and remain, at risk that

 their data will be sold or listed on the dark web and, ultimately, illegally used in the

 future.




 11
    Id.
 12
    Id.
 13
    Id.

                                            8
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      C. Defendant’s Failure to Prevent, Identify, and Timely Report the Data
         Breach

        34.   Defendant admits that an unauthorized third party accessed its IT

 Network. Defendant fails to take adequate measures to protect its computer systems

 against unauthorized access.

        35.   The Private Information that Defendant allowed to be exposed in the

 Data Breach is the type of private information that Defendant knew or should have

 known would be the target of cyberattacks.

        36.   Despite its own knowledge of the inherent risks of cyberattacks, and

 notwithstanding the FTC’s data security principles and practices,14 Defendant failed

 to disclose that its systems and security practices were inadequate to reasonably

 safeguard past and present patients Private Information.

        37.   The FTC directs businesses to use an intrusion detection system to

 expose a breach as soon as it occurs, monitor activity for attempted hacks, and have

 an immediate response plan if a breach occurs.15 Immediate notification of a Data

 Breach is critical so that those impacted can take measures to protect themselves.




 14
    Protecting Personal Information: A Guide for Business, FED. TRADE COMM’N
 (Oct. 2016), https://www.ftc.gov/business-guidance/resources/protecting-personal-
 information-guide-business. (last visited May 26, 2025).
 15
    Id.

                                          9
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         38.   Here, Defendant waited more than a year after being made aware of

  the Data Breach to notify impacted individuals.

       D. The Harm Caused by the Data Breach Now and Going Forward

         39.   Victims of data breaches are susceptible to becoming victims of

  identity theft. The FTC defines identity theft as “a fraud committed or attempted

  using the identifying information of another person without authority.” 17 C.F.R. §

  248.201(9). When “identity thieves have your personal information, they can drain

  your bank account, run up charges on your credit cards, open new utility accounts,

  or get medical treatment on your health insurance.”16

         40.   The type of data that may have been accessed and compromised here

  can be used to perpetrate fraud and identity theft.

         41.   Plaintiff and Class Members face a substantial risk of identity theft

  given that their Private Information was compromised in the Data Breach.

         42.   Stolen Private Information is often trafficked on the “dark web,” a

  heavily encrypted part of the Internet that is not accessible via traditional search

  engines. Law enforcement has difficulty policing the “dark web” due to this




  16
           Prevention          and        Preparedness, New        York        State
  Police, https://troopers.ny.gov/prevention-and-preparedness (last visited May 27,
  2025).

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  encryption, which allows users and criminals to conceal their identities and online

  activity.

         43.   When malicious actors infiltrate companies and copy and exfiltrate the

  Private Information that those companies store, the stolen information often ends

  up on the dark web where malicious actors buy and sell that information for profit.17

         44.   For example, when the U.S. Department of Justice announced their

  seizure of AlphaBay—the largest online “dark market”—in 2017, AlphaBay had

  more than 350,000 listings, many of which concerned stolen or fraudulent

  documents that could be used to assume another person’s identity.”18 Marketplaces

  similar to the now-defunct AlphaBay continue to be “awash with [PII] belonging to

  victims from countries all over the world.”19

         45.   PII remains of high value to criminals, as evidenced by the prices they

  will pay through the dark web. Numerous sources cite dark web pricing for stolen

  identity credentials. For example, personal information can be sold at a price

  ranging from $40 to $200, and bank details have a price range of $50 to $200.20



  17
     Shining a Light on the Dark Web with Identity Monitoring, IDENTITYFORCE (Dec.
  28,      2020) https://www.identityforce.com/blog/shining-light-dark-web-identity-
  monitoring (last visited May 27, 2025).
  18
     Stolen PII & Ramifications: Identity Theft and Fraud on the Dark Web, ARMOR
  (April 3, 2018), https://res.armor.com/resources/blog/stolen-pii-ramifications-
  identity-theft-fraud-dark-web/ (last visited May 27, 2025).
  19
     Id.
  20
     Id.

                                           11
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  Criminals can also purchase access to entire company data breaches from $900 to

  $4,500.21

        46.    According to the FBI’s Internet Crime Complaint Center (IC3) 2019

  Internet Crime Report, Internet-enabled crimes reached their highest number of

  complaints and dollar losses in 2019, resulting in more than $3.5 billion in losses to

  individuals and business victims.22

        47.    Further, according to the same report, “rapid reporting can help law

  enforcement stop fraudulent transactions before a victim loses the money for

  good.”23 Defendant did not rapidly report to Plaintiff and Class Members that their

  Private Information had been stolen. Defendant notified impacted people one year

  after learning of the Data Breach.

        48.    As a result of the Data Breach, the Private Information of Plaintiff and

  Class Members has been exposed to criminals for misuse. The injuries suffered by

  Plaintiff and Class Members, or likely to be suffered as a direct result of




  21
     Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce
  Back, NPR (Feb. 9, 2015) https://www.npr.org/2015/02/09/384875839/data-stolen-
  by-anthem-s-hackers-has-millions-worrying-about-identity-theft (last visited May
  27, 2025).
  22
        2019 Internet Crime Report Released, FBI (Feb. 11, 2020)
  https://www.fbi.gov/news/stories/2019-internet-crime-report-released-
  021120#:~:text=IC3%20received%20467%2C361%20complaints%20in,%2Ddeliv
  ery%20scams%2C%20and%20extortion (last visited May 27, 2025).
  23
     Id.

                                            12
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  Defendant’s Data Breach, include: (a) theft of their Private Information; (b) costs

  associated with the detection and prevention of identity theft; (c) costs associated

  with time spent and the loss of productivity from taking time to address and attempt

  to ameliorate, mitigate, and deal with the consequences of this Breach; (d) invasion

  of privacy; (e) the emotional distress, stress, nuisance, and annoyance of responding

  to, and resulting from, the Data Breach; (f) the actual and/or imminent injury arising

  from actual and/or potential fraud and identity theft resulting from their personal

  data being placed in the hands of the ill-intentioned hackers and/or criminals; (g)

  damage to and diminution in value of their personal data entrusted to Defendant

  with the mutual understanding that Defendant would safeguard their Private

  Information against theft and not allow access to and misuse of their personal data

  by any unauthorized third party; and (h) the continued risk to their Private

  Information, which remains in the possession of Defendant, and which is subject to

  further injurious breaches so long as Defendant fails to undertake appropriate and

  adequate measures to protect Plaintiff’s and Class Members’ Private Information.

        49.    In addition to a remedy for economic harm, Plaintiff and Class

  Members maintain an interest in ensuring that their Private Information is secure,

  remains secure, and is not subject to further misappropriation and theft.

        50.    Defendant disregarded the rights of Plaintiff and Class Members by (a)

  intentionally, willfully, recklessly, or negligently failing to take adequate and


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  reasonable measures to ensure that its network servers were protected against

  unauthorized intrusions; (b) failing to disclose that it did not have adequately robust

  security protocols and training practices in place to safeguard Plaintiff’s and Class

  Members’ Private Information; (c) failing to take standard and reasonably available

  steps to prevent the Data Breach; (d) concealing the existence and extent of the Data

  Breach for an unreasonable duration of time; and (e) failing to provide Plaintiff and

  Class Members prompt and accurate notice of the Data Breach.

        51.    The actual and adverse effects to Plaintiff and Class Members,

  including the imminent, immediate, and continuing increased risk of harm for

  identity theft, identity fraud and/or medical fraud directly or proximately caused by

  Defendant’s wrongful actions and/or inaction and the resulting Data Breach require

  Plaintiff and Class Members to take affirmative acts to recover their peace of mind

  and personal security including, without limitation, purchasing credit reporting

  services, purchasing credit monitoring and/or internet monitoring services,

  frequently obtaining, purchasing and reviewing credit reports, bank statements, and

  other similar information, instituting and/or removing credit freezes and/or closing

  or modifying financial accounts, for which there is a financial and temporal cost.

  Plaintiff and other Class Members have suffered, and will continue to suffer, such

  damages for the foreseeable future.




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  Plaintiff Ana Hernandez’s Experience

        52.      Plaintiff is a patient of Defendant.

        53.      As a condition of obtaining medical services, Plaintiff was required to

  supply Defendant with her Private Information—including name, address, Social

  Security number, date of birth, financial account information, and other medical

  information.

        54.      Defendant was in possession of Plaintiff’s Private Information before,

  during and after the Data Breach.

        55.      Plaintiff reasonably understood and expected that Defendant would

  safeguard her Private Information and timely and adequately notify her in the event

  of a data breach. Plaintiff would not have allowed Defendant, or anyone in

  Defendant’s position, to maintain her Private Information if she believed that

  Defendant would fail to implement reasonable and industry standard practices to

  safeguard that information from unauthorized access.

        56.      Recognizing the present, immediate, and substantially increased risk

  of harm Plaintiff faces, Defendant offered victims of the Data Breach a temporary

  subscription to a credit monitoring service

        57.      Plaintiff greatly values her privacy and Private Information and takes

  reasonable steps to maintain the confidentiality of her Private Information. Plaintiff




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  is very concerned about identity theft and fraud, as well as the consequences of such

  identity theft and fraud resulting from the Data Breach.

        58.     Plaintiff stores any and all documents containing Private Information

  in a secure location and destroys any documents she receives in the mail that contain

  any Private Information or that may contain any information that could otherwise

  be used to compromise her identity and credit card accounts. Moreover, she

  diligently chooses unique usernames and passwords for her various online

  accounts.

        59.     As a result of the Data Breach, Plaintiff has spent several hours

  researching the Data Breach, reviewing her bank accounts, monitoring her credit

  report, changing her passwords and other necessary mitigation efforts. This is

  valuable time that Plaintiff spent at Defendant’s direction and that she otherwise

  would have spent on other activities, including but not limited to work and/or

  recreation.

        60.     As a consequence of and following the Data Breach, Plaintiff has

  experienced a significant uptick in spam calls, text messages, and emails.

        61.     The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress,

  which has been compounded by Defendant’s delay in noticing her of the fact that

  her Social Security number was acquired by criminals as a result of the Data

  Breach.


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        62.    Plaintiff anticipates spending considerable time and money on an

  ongoing basis to try to mitigate and address harms caused by the Data Breach. In

  addition, Plaintiff will continue to be at present and continued increased risk of

  identity theft and fraud for years to come.

        63.    Plaintiff has a continuing interest in ensuring that her Private

  Information, which upon information and belief, remains in Defendant’s

  possession, is protected and safeguarded from future breaches.

        64.    As a direct and traceable result of the Data Breach, Plaintiff suffered

  actual injury and damages after her Private Information was compromised and

  stolen in the Data Breach, including, but not limited to: (a) lost time and money

  related to monitoring her accounts and credit reports for fraudulent activity; (b) loss

  of privacy due to her Private Information being accessed and stolen by

  cybercriminals; (c) loss of the benefit of the bargain because Defendant did not

  adequately protect her Private Information; (d) emotional distress because identity

  thieves now possess her Private Information; (e) imminent and impending injury

  arising from the increased risk of fraud and identity theft now that her Private

  Information has been stolen and likely published on the dark web; (f) diminution in

  the value of her Private Information, a form of intangible property that Defendant

  obtained from Plaintiff, and (g) other economic and non-economic harm.




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                                CLASS ALLEGATIONS

        65.    Plaintiff brings this class action, individually and on behalf of the

  following Nationwide Class:


        All persons in the United States who were impacted by the Data
        Breach publicly announced by Defendant in May 2025 (the
        “Class”).

        66.    Specifically excluded from the Class are Defendant, its officers,

  directors, agents, trustees, parents, children, corporations, trusts, representatives,

  principals, servants, partners, joint venturers, or entities controlled by Defendant,

  and its heirs, successors, assigns, or other persons or entities related to or affiliated

  with Defendant and/or its officers and/or directors, the judge assigned to this action,

  and any member of the judge’s immediate family.

        67.    Plaintiff reserves the right to amend the Class definitions above if

  further investigation and/or discovery reveals that the Class should be expanded,

  narrowed, divided into subclasses, or otherwise modified in any way.

        68.    This action may be certified as a class action because it satisfies the

  numerosity, commonality, typicality, adequacy, and superiority requirements

  therein.

        69.    Numerosity: The Class is so numerous that joinder of all Class

  Members is impracticable. Upon information and belief, the Class is comprised of




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  57,412 Class Members, if not more. The Class is sufficiently numerous to warrant

  certification.

         70.       Typicality of Claims: Plaintiff’s claims are typical of those of other

  Class Members because Plaintiff, like the unnamed Class, had her Private

  Information compromised as a result of the Data Breach. Plaintiff is a member of

  the Class, and her claims are typical of the claims of the members of the Class. The

  harm suffered by Plaintiff is similar to that suffered by all other Class Members

  which was caused by the same misconduct by Defendant.

         71.       Adequacy of Representation: Plaintiff will fairly and adequately

  represent and protect the interests of the Class. Plaintiff has no interests antagonistic

  to, nor in conflict with, the Class. Plaintiff has retained competent counsel who are

  experienced in consumer and commercial class action litigation and who will

  prosecute this action vigorously.

         72.       Superiority: A class action is superior to other available methods for

  the fair and efficient adjudication of this controversy. Because the monetary

  damages suffered by individual Class Members are relatively small, the expense

  and burden of individual litigation make it impossible for individual Class Members

  to seek redress for the wrongful conduct asserted herein. If Class treatment of these

  claims is not available, Defendant will likely continue its wrongful conduct, will




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  unjustly retain improperly obtained revenues, or will otherwise escape liability for

  its wrongdoing as asserted herein.

        73.    Predominant Common Questions: The claims of all Class Members

  present common questions of law or fact, which predominate over any questions

  affecting only individual Class Members, including:

               a. Whether Defendant failed to implement and maintain
                  reasonable security procedures and practices appropriate to
                  the nature and scope of the information compromised in the
                  Data Breach;
               b. Whether Defendant’s data security systems prior to and
                  during the Data Breach complied with applicable data
                  security laws and regulations;
               c. Whether Defendant’s storage of Plaintiff’s and Class
                  Member’s Private Information was done in a negligent
                  manner;
               d. Whether Defendant had a duty to protect and safeguard
                  Plaintiff’s and Class Members’ Private Information;
               e. Whether Defendant’s conduct was negligent;
               f. Whether Defendant’s conduct violated Plaintiff’s and Class
                  Members’ privacy;
               g. Whether Defendant took sufficient steps to secure its past and
                  present patients’ Private Information;
               h. Whether Defendant was unjustly enriched; and
               i. The nature of relief, including damages and equitable relief, to
                  which Plaintiff and Class Members are entitled.
        74.    Information concerning Defendant’s policies is available from

  Defendant’s records.




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        75.    Plaintiff knows of no difficulty which will be encountered in the

  management of this litigation which would preclude its maintenance as a class

  action.

        76.    The prosecution of separate actions by individual members of the Class

  would run the risk of inconsistent or varying adjudications and establish

  incompatible standards of conduct for Defendant. Prosecution as a class action will

  eliminate the possibility of repetitious and inefficient litigation.

        77.    Given that Defendant had not indicated any changes to its conduct or

  security measures, monetary damages are insufficient and there is no complete and

  adequate remedy at law.

                               CAUSES OF ACTION
                                      COUNT I
                                  NEGLIGENCE
                         (On Behalf of Plaintiff and the Class)

        78.    Plaintiff incorporates by reference and re-alleges each and every

  allegation set forth above in paragraphs 1 through 77 as though fully set forth herein.

        79.    Plaintiff brings this claim individually and on behalf of the Class

  Members.

        80.    Defendant knowingly collected, came into possession of, and

  maintained Plaintiff’s and Class Members’ Private Information, and had a duty to

  exercise reasonable care in safeguarding, securing, and protecting such information




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  from being compromised, lost, stolen, misused, and/or disclosed to unauthorized

  parties.

         81.     Defendant had a duty to have procedures in place to detect and prevent

  the loss or unauthorized dissemination of Plaintiff’s and Class Members’ Private

  Information.

         82.     Defendant had, and continue to have, a duty to timely disclose that

  Plaintiff’s and Class Members’ Private Information within its possession was

  compromised and precisely the types of information that were compromised.

         83.     Defendant owed a duty of care to Plaintiff and Class Members to

  provide data security consistent with industry standards, applicable standards of

  care from statutory authority like Section 5 of the FTC Act, and other requirements

  discussed herein, and to ensure that its systems and networks, and the personnel

  responsible for them, adequately protected individuals’ Private Information.

         84.     Defendant’s duty of care to use reasonable security measures arose as

  a result of the special relationship that existed between Defendant and its patients.

  Defendant was in a position to ensure that its systems were sufficient to protect

  against the foreseeable risk of harm to Plaintiff and Class Members from a data

  breach.

         85.     Defendant’s duty to use reasonable care in protecting confidential data

  arose not only as a result of the statutes and regulations described above, but also


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  because Defendant is bound by industry standards to protect confidential Private

  Information.

        86.      Defendant breached its duties by failing to exercise reasonable care in

  safeguarding and protecting Plaintiff’s and Class Members’ Private Information.

        87.      The specific negligent acts and omissions committed by Defendant

  include, but are not limited to, the following:

                 a. Failing to adopt, implement, and maintain adequate security
                    measures to safeguard Plaintiff’s and Class Members’ Private
                    Information;

                 b. Failing to adequately monitor the security of its networks and
                    systems; and

                 c. Failing to periodically ensure that its computer systems and
                    networks had plans in place to maintain reasonable data
                    security safeguards.

        88.      Defendant, through its actions and/or omissions, unlawfully breached

  its duties to Plaintiff and Class Members by failing to exercise reasonable care in

  protecting and safeguarding Plaintiff’s and Class Members’ Private Information

  within Defendant’s possession.

        89.      Defendant, through its actions and/or omissions, unlawfully breached

  its duties to Plaintiff and Class Members by failing to have appropriate procedures

  in place to detect and prevent dissemination of Plaintiff’s and Class Members’

  Private Information.




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        90.    Defendant, through its actions and/or omissions, unlawfully breached

  its duty to timely disclose to Plaintiff and Class Members that the Private

  Information within Defendant’s possession might have been compromised and

  precisely the type of information compromised.

        91.    Defendant breached the duties set forth in 15 U.S.C. § 45, the FTC

  guidelines, the National Institute of Standards and Technology’s Framework for

  Improving Critical Infrastructure Cybersecurity, and other industry guidelines. In

  violation of 15 U.S.C. § 45, Defendant failed to implement proper data security

  procedures to adequately and reasonably protect Plaintiff’s and Class Members’

  Private Information. In violation of the FTC guidelines, inter alia, Defendant did

  not protect the Private Information it keep; failed to properly dispose of personal

  information that was no longer needed; failed to encrypt information stored on

  computer networks; lacked the requisite understanding of its networks’

  vulnerabilities; and failed to implement policies to correct security issues.

        92.    It was foreseeable that Defendant’s failure to use reasonable measures

  to protect Plaintiff’s and Class Members’ Private Information would result in injury

  to Plaintiff and Class Members. Further, the breach of security was reasonably

  foreseeable given the known high frequency of cyberattacks and data breaches.




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        93.    It was foreseeable that the failure to adequately safeguard Plaintiff’s

  and Class Members’ Private Information would result in injuries to Plaintiff and

  Class Members.

        94.    Defendant’s breach of duties owed to Plaintiff and Class Members

  caused Plaintiff’s and Class Members’ Private Information to be compromised.

        95.    But for Defendant’s negligent conduct and breach of the above-

  described duties owed to Plaintiff and Class Members, its Private Information

  would not have been compromised.

        96.    As a result of Defendant’s failure to timely notify Plaintiff and Class

  Members that its Private Information had been compromised, Plaintiff and Class

  Members are unable to take the necessary precautions to mitigate damages by

  preventing future fraud.

        97.    As a result of Defendant’s negligence and breach of duties, Plaintiff

  and Class Members are in danger of imminent harm in that their Private

  Information, which is still in the possession of third parties, will be used for

  fraudulent purposes, and Plaintiff and Class Members have and will suffer damages

  including: a substantial increase in the likelihood of identity theft; the compromise,

  publication, and theft of their personal information; loss of time and costs associated

  with the prevention, detection, and recovery from unauthorized use of their personal

  information; the continued risk to their personal information; future costs in terms


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  of time, effort, and money that will be required to prevent, detect, and repair the

  impact of the personal information compromised as a result of the Data Breach; and

  overpayment for the services or products that were received without adequate data

  security.

                                     COUNT II
                              NEGLIGENCE PER SE
                         (On Behalf of Plaintiff and the Class)

        98.    Plaintiff incorporates by reference and re-alleges each and every

  allegation set forth above in paragraphs 1 through 77 as though fully set forth herein.

        99.    Section 5 of the FTC Act, 15 U.S.C. 45, prohibits “unfair . . . practices

  in or affecting commerce” including, as interpreted and enforced by the FTC, the

  unfair act or practice by Defendant of failing to use reasonable measures to protect

  Plaintiff’s and Class Members’ Private Information. Various FTC publications and

  orders also form the basis of Defendant’s duty.

        100. Defendant violated Section 5 of the FTC Act (and similar state

  statutes) by failing to use reasonable measures to protect Plaintiff’s and Class

  Members’ Private Information and by failing to comply with industry standards.

        101. Defendant’s conduct was particularly unreasonable given the nature

  and amount of Private Information obtained and stored and the foreseeable

  consequences of a data breach on Defendant’s systems.




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        102. Class Members are consumers within the class of persons Section 5 of

  the FTC Act (and similar state statutes) were intended to protect.

        103. Moreover, the harm that has occurred is the type of harm the FTC Act

  (and similar state statutes) was intended to guard against. Indeed, the FTC has

  pursued over fifty enforcement actions against businesses which, as a result of their

  failure to employ reasonable data security measures and avoid unfair and deceptive

  practices, caused the same harm suffered by Plaintiff and Class Members.

        104. As a result of Defendant’s negligence per se, Plaintiff and Class

  Members have been harmed and have suffered damages including, but not limited

  to: damages arising from identity theft and fraud; out-of-pocket expenses associated

  with procuring identity protection and restoration services; increased risk of future

  identity theft and fraud, and the costs associated therewith; and time spent

  monitoring, addressing, and correcting the current and future consequences of the

  Data Breach.

                                     COUNT III
                              UNJUST ENRICHMENT
                         (On Behalf of Plaintiff and the Class)
        105. Plaintiff incorporates by reference and re-alleges each and every

  allegation set forth above in paragraphs 1 through 77 as though fully set forth herein.

        106. Plaintiff and Class Members conferred a benefit upon Defendant by

  providing Defendant with their Private Information.



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        107. Defendant appreciated or had knowledge of the benefits conferred

  upon itself by Plaintiff. Defendant also benefited from the receipt of Plaintiff’s and

  Class Members’ Private Information.

        108. Under principles of equity and good conscience, Defendant should not

  be permitted to retain the full value of Plaintiff’s and the Class Members’ Private

  Information because Defendant failed to adequately protect Plaintiff’s Private

  Information. Plaintiff and the proposed Class would not have provided their Private

  Information to Defendant had they known Defendant would not adequately protect

  their Private Information.

        109. Defendant should be compelled to disgorge into a common fund for

  the benefit of Plaintiff and Class Members all unlawful or inequitable proceeds

  received by it because of its misconduct and the Data Breach it caused.

                                     COUNT IV
                        BREACH OF IMPLIED CONTRACT
                         (On Behalf of Plaintiff and the Class)
        110. Plaintiff incorporates by reference and re-alleges each and every

  allegation set forth above in paragraphs 1 through 77 as though fully set forth herein.

        111. Plaintiff and the Class provided and entrusted their Private Information

  to Defendant. Plaintiff and the Class provided their Private Information to

  Defendant as part of Defendant’s regular business practices.




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        112. In so doing, Plaintiff and the Class entered into implied contracts with

  Defendant by which Defendant agreed to safeguard and protect such information,

  to keep such information secure and confidential, and to timely and accurately

  notify Plaintiff and the Class if their data had been breached and compromised or

  stolen, in return for the business services provided by Defendant. Implied in these

  exchanges was a promise by Defendant to ensure that the Private Information of

  Plaintiff and Class Members in its possession was secure.

        113. Pursuant to these implied contracts, Plaintiff and Class Members

  provided Defendant with their Private Information. In exchange, Defendant agreed

  to, among other things, and Plaintiff and the Class understood that Defendant

  would: (1) provide services to Plaintiff and Class Members; (2) take reasonable

  measures to protect the security and confidentiality of Plaintiff’s and Class

  Members’ Private Information; and (3) protect Plaintiff’s and Class Members’

  Private Information in compliance with federal and state laws and regulations and

  industry standards.

        114. Implied in these exchanges was a promise by Defendant to ensure the

  Private Information of Plaintiff and Class Members in its possession was only used

  to provide the agreed-upon reasons, and that Defendant would take adequate

  measures to protect Plaintiff’s and Class Members’ Private Information.




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        115. A material term of this contract is a covenant by Defendant that it

  would take reasonable efforts to safeguard that information. Defendant breached

  this covenant by allowing Plaintiff’s and Class Members’ Private Information to be

  accessed in the Data Breach.

        116. Indeed, implicit in the agreement between Defendant and Plaintiff and

  Class Members was the obligation that both parties would maintain information

  confidentially and securely.

        117. These exchanges constituted an agreement and meeting of the minds

  between the parties.

        118. When the parties entered into an agreement, mutual assent occurred.

  Plaintiff and Class Members would not have disclosed their Private Information to

  Defendant but for the prospect of utilizing Defendant’s services. Conversely,

  Defendant presumably would not have taken Plaintiff and Class Members’ Private

  Information if it did not intend to provide Plaintiff and Class Members with its

  services.

        119. Defendant were therefore required to reasonably safeguard and protect

  the Private Information of Plaintiff and Class Members from unauthorized

  disclosure and use.

        120. Plaintiff and Class Members would not have entrusted their Private

  Information to Defendant in the absence of their implied contracts with Defendant


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  and would have instead retained the opportunity to control their Private

  Information.

        121. Defendant breached the implied contracts with Plaintiff and Class

  Members by failing to reasonably safeguard and protect Plaintiff and Class

  Members’ Private Information.

        122. Defendant’s failure to implement adequate measures to protect the

  Private Information of Plaintiff and Class Members violated the purpose of the

  agreement between the parties.

        123. As a proximate and direct result of Defendant’s breaches of its implied

  contracts with Plaintiff and Class Members, Plaintiff and the Class Members

  suffered damages as described in detail above.

                                     COUNT V
                           BREACH OF CONFIDENCE
                        (On Behalf of Plaintiff and the Class)

        124. Plaintiff incorporates by reference and re-alleges each and every

  allegation set forth above in paragraphs 1 through 77 as though fully set forth herein.

        125. At all times during Plaintiff’s and Class Members’ interactions with

  Defendant, Defendant was fully aware of the confidential and sensitive nature of

  Plaintiff’s and Class Members’ Private Information that Plaintiff and Class

  Members entrusted to Defendant.




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         126. As alleged herein and above, Defendant’s relationship with Plaintiff

  and the Class was governed by terms and expectations that Plaintiff’s and the Class

  Members’ Private Information would be collected, stored, and protected in

  confidence, and would not be disclosed to unauthorized third parties.

         127. Plaintiff and the Class entrusted Defendant with their Private

  Information with the explicit and implicit understandings that Defendant would

  protect and not permit the Private Information to be disseminated to any

  unauthorized third parties.

         128. Plaintiff and the Class also entrusted Defendant with their Private

  Information with the explicit and implicit understandings that Defendant would take

  precautions to protect that Private Information from unauthorized disclosure.

         129. Defendant voluntarily received Plaintiff’s and Class Members’ Private

  Information in confidence with the understanding that their Private Information

  would not be disclosed or disseminated to the public or any unauthorized third

  parties.

         130. As a result of Defendant’s failure to prevent and avoid the Data Breach

  from occurring, Plaintiff’s and Class Members’ Private Information was disclosed

  and misappropriated to unauthorized third parties beyond Plaintiff’s and Class

  Members’ confidence, and without their express permission.




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        131. As a direct and proximate cause of Defendant’s actions and omissions,

  Plaintiff and the Class have suffered damages.

        132. But for Defendant’s disclosure of Plaintiff’s and Class Members’

  Private Information in violation of the parties’ understanding of confidence, their

  Private Information would not have been compromised, stolen, viewed, accessed,

  and used by unauthorized third parties. Defendant’s Data Breach was the direct and

  legal cause of the theft of Plaintiff’s and Class Members’ Private Information as

  well as the resulting damages.

        133. The injury and harm Plaintiff and the Class suffered was the

  reasonably foreseeable result of Defendant’s unauthorized disclosure of Plaintiff’s

  and Class Members’ Private Information. Defendant knew or should have known

  its methods of accepting and securing Plaintiff’s and Class Members’ Private

  Information was inadequate as it relates to, at the very least, securing servers and

  other equipment containing Plaintiff’s and Class Members’ Private Information.

        134. As a direct and proximate result of Defendant’s breach of its

  confidence with Plaintiff and the Class, Plaintiff and the Class have suffered and

  will suffer injury, including but not limited to: (i) identity theft; (ii) the loss of the

  opportunity how their Private Information is used; (iii) the compromise,

  publication, and/or theft of their Private Information; (iv) out-of-pocket expenses

  associated with the prevention, detection, and recovery from identity theft, tax


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  fraud, and/or unauthorized use of their Private Information; (v) lost opportunity

  costs associated with effort expended and the loss of productivity addressing and

  attempting to mitigate the actual present and future consequences of the Data

  Breach, including but not limited to efforts spent researching how to prevent, detect,

  contest, and recover from tax fraud and identity theft; (vi) costs associated with

  placing freezes on credit reports; (vii) the continued risk to their Private

  Information, which remain in Defendant’s possession and is subject to further

  unauthorized disclosures so long as Defendant fails to undertake appropriate and

  adequate measures to protect the Private Information of individuals; and (viii)

  present and future costs in terms of time, effort, and money that will be expended

  to prevent, detect, contest, and repair the impact of the Private Information

  compromised as a result of the Data Breach for the remainder of the lives of Plaintiff

  and Class Members.

        135. As a direct and proximate result of Defendant’s breaches of

  confidence, Plaintiff and the Class Members have suffered and will continue to

  suffer other forms of injury and/or harm, including, but not limited to, anxiety,

  emotional distress, loss of privacy, and other economic and non-economic losses.

                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all others similarly

  situated, seeks judgment against Defendant, as follows:


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         (a)    For an order determining that this action is properly brought as a class

                action and certifying Plaintiff as the representative of the Class and her

                counsel as Class Counsel;

         (b)    For an order declaring that Defendant’s conduct violates the laws

                referenced herein;

         (c)    For an order finding in favor of Plaintiff and the Class on all counts

                asserted herein;

         (d)    For damages in amounts to be determined by the Court and/or jury;

         (e)    For an award of statutory damages or penalties to the extent available;

         (f)    For pre-judgment interest on all amounts awarded;

         (g)    For an award of attorneys’ fees, costs, and litigation expenses, as

                allowed by law;

         (h)    For an order of restitution and all other forms of monetary relief; and

         (i)    Such other and further relief as the Court deems necessary and

                appropriate.

                               JURY TRIAL DEMANDED

         Plaintiff demands a trial by jury of all claims in this Class Action Complaint

  so triable.




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       Dated: May 28, 2025                By: /s/ Mark K. Svensson
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